          Case 21-42214-mxm11 Doc 16 Filed 09/22/21                            Entered 09/22/21 22:31:32                  Page 1 of 4

 Fill in this information to identify the case:
 Debtor name        Instapay Flexible, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        21-42214-mxm11                                                                                        Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and            Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor              professional          unliquidated,   secured, fill in total claim amount and
                                 contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Prime Financial Recruiting                         unknown                                                                    $15,000.00




2   Texas Comptroller of                               Sales Taxes                                                                   $517.79
    Public Accounts




3   Rewind Backups                                     Service
    1053 Somerset St W
    Ottawa, Canada




4   Webflow                                            Service
    398 11th St
    2nd Floor
    San Francisco, CA
    94103

5   Truckstop.com                                      Service
    222 N Plymouth Ave
    New Plymouth, ID 83655




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
          Case 21-42214-mxm11 Doc 16 Filed 09/22/21                          Entered 09/22/21 22:31:32                  Page 2 of 4
Debtor       Instapay Flexible, LLC                                              Case number (if known) 21-42214-mxm11
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor              professional          unliquidated,   secured, fill in total claim amount and
                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Texas Secretary of State                         Fees
    1019 Brazos St
    Austin, TX 78701




7   Slack Headquarters                               Service
    500 Howard St
    San Francisco, CA
    94105



8   Shutterstock, Inc.                               Service
    350 Fifth Avenue
    21st Floor
    New York, NY 10118



9   RingCentral, Inc                                 Service
    20 Davis Drive
    Belmont, CA 94002




10 Pluralsight HQ                                    Service
   182 N W Union Ave
   Farmington, UT 84025




11 Plaid Inc.                                        Service
   PO Box 636
   San Francisco, CA
   94104



12 Notion HQ                                         Service
   930 Alabama St
   San Francisco, CA
   94110



13 GitHub                                            Service
   88 Colin P Kelly Jr St
   San Francisco, CA
   94107




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
          Case 21-42214-mxm11 Doc 16 Filed 09/22/21                          Entered 09/22/21 22:31:32                  Page 3 of 4
Debtor       Instapay Flexible, LLC                                              Case number (if known) 21-42214-mxm11
             Name


 Name of creditor and           Name, telephone      Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email    (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of           debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor             professional          unliquidated,   secured, fill in total claim amount and
                                contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
14 First Corporate Solutions,                        Service
   Inc.
   914 S St
   Sacramento, CA 95811



15 FactorCloud                                       Service
   3490 Piedmont Rd NE
   Suite 1350
   Atlanta, GA 30305



16 Cloudstaff HK Limited                             Service




17 CircleCI                                          Service
   201 Spear St
   #1200
   San Francisco, CA
   94105

18 Carrier411 Services, Inc.                         Service
   1540 INTERNATIONAL
   PARKWAY
   LAKE MARY, FL



19 Amazon Web Services,                              Service
   Inc.
   410 Terry Avenue North
   Seattle, WA 98109-5210



20 Adobe Creative Cloud                              Service
   345 Park Avenue
   San Jose, CA 95110-
   2704




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
          Case 21-42214-mxm11 Doc 16 Filed 09/22/21                                 Entered 09/22/21 22:31:32                 Page 4 of 4

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